                 Case:19-01427-swd     Doc #:8 Filed: 04/08/19        Page 1 of 2



                         UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF MICHIGAN


IN RE:                                      §
                                            §
Alisa R. Byrnes                             §    CASE NO. 19-01427
                                            §    HON. SCOTT W. DALES
  Debtor(s)                                 §
                                            §

                         DEBTOR’S MOTION TO EXTEND
                  AUTOMATIC STAY PURSUANT TO 11 U.S.C. § 362(c)(3)

NOW COMES the Debtor, Alisa R. Byrnes, by counsel, Mapes Law Offices, and respectfully
requests that this Court extend the Automatic Stay pursuant to 11 U.S.C. § 362(c)(3), and in
support thereof, states as follows:

   1. This Chapter 13 Case was filed on 04/03/2019.

   2. The Debtor previously filed bankruptcy, Case no. 18-01839, under Chapter 13, on
       04/23/18, which was dismissed on 11/14/2018.

   3. The Debtor did not have any other pending bankruptcy cases in the preceding one-year
       period.

   4. The Debtor did not have any prior case dismissed in the last year for any of the following
       reasons: failure to file or amend required documents without substantial excuse; failure to
       provide adequate protection as ordered by the Court; or failure to perform the terms of a
       plan confirmed by the Court.

   5. There has been a substantial change in the financial affairs of the Debtor since the
       dismissal of the last case, and she reasonably believes that this case will be concluded
       with a discharge.

   6. Shortly after the Debtor filed the previous bankruptcy case she became ill with an
       autoimmune disease which left her unable to work.

   7. Since the previous case was dismissed the Debtor has begun receiving a disability
       benefits on a regular basis. She also intends to retire from her current employer and with
       social security benefits, and retirement benefits from her employer, the Debtor reasonably
       believes that she will be able to fund this Chapter 13 Plan.
               Case:19-01427-swd        Doc #:8 Filed: 04/08/19        Page 2 of 2



WHEREFORE, the Debtor prays that this Honorable Court grant his Motion to Extend the
Automatic Stay as to all creditors, after notice and opportunity to be heard, and for all such other
relief as may be just and equitable.

Dated: 04/08/2019                                  /s/ Jeffrey D. Mapes
                                                   Jeffrey D. Mapes, Attorney for Debtor
                                                   George J. George, Associate Attorney
                                                   29 Pearl St. NW, Ste. 305
                                                   Grand Rapids, MI 49503
                                                   Phone: (616) 719-3847
                                                   Fax: (616) 719-3857
